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                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Multiplan Health Insurance Provider
Litigation, et al.
                                                 Plaintiff,
v.                                                            Case No.: 1:24−cv−06795
                                                              Honorable Matthew F.
                                                              Kennelly
Multiplan, Inc., et al.
                                                 Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 2, 2025:


        MINUTE entry before the Honorable Matthew F. Kennelly: In person motion and
status hearings held on 5/2/2025. Oral argument heard on the defendants' motions to
dismiss [282] [285] [362]. The motions are taken under advisement. Any responses to the
proposed common benefit orders [408] are to be filed by 5/19/2025. The parties are
directed to confer in advance of the response date to narrow the issues. Any reply to the
response(s) is to be filed by 5/29/2025. Mailed notice. (mma, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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